Case 8:23-cv-02760-MSS-JSS Document 12 Filed 12/21/23 Page 1 of 2 PageID 47




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA

CHEYENNE JOHNSON,                                    CASE NO.: 8:23-cv-02760

             Plaintiff,

v.

AUTO PARTNERS I, LLC,
and AUTO PARTNERS IV, LLC,

           Defendants.
________________________________________/

                 DEFENDANTS’ NOTICE OF LEAD COUNSEL

      Defendants, Auto Partners I, LLC (“AP I”) and Auto Partners IV, LLC (“AP

IV”) (collectively, “Defendants”), through counsel, pursuant to Local Rule 2.02(a),

files this notice of lead counsel, and states the following:

      1.      Lead counsel for Defendants is Jason L. Odom. Florida bar number

0476950.   Mr. Odom is with Gould Cooksey Fennell, PLLC, 979 Beachland

Boulevard, Vero Beach, FL 32963, (772) 231-1100—Telephone, Eservice: jlo-

eservice@gouldcooksey.com.




                                          1
Case 8:23-cv-02760-MSS-JSS Document 12 Filed 12/21/23 Page 2 of 2 PageID 48




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 21, 2023, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system which will send
a notice of electronic filing to Kyle T. MacDonald with Derek Smith Law Group,
PLLC, at 520 Brickell Key Drive, Suite O-301, Miami, FL 33131, with email address
kyle@dereksmithlaw.com, attorney for Plaintiff.


                               /s/ Jason L. Odom
                               Jason L. Odom




                                       2
